Case 20-30663-5-wak          Doc 401 Filed 03/12/21 Entered 03/12/21 08:03:47                     Desc
                               Main Document     Page 1 of 2
UNITED STATES BANKRUPTY COURT
NORTHERN DISTRICT OF NEW YORK

In re:                                             )
                                                   ) Case No. 20-30663
The Roman Catholic Diocese of Syracuse,            )
New York                                           ) Chapter 11
                Debtor.                            )



                      NOTICE OF APPEARANCE AND REQUEST FOR
                          NOTICE AND SERVICE OF PAPERS

         PLEASE TAKE NOTICE that the undersigned appears for New York Central Mutual

Insurance Company, pursuant to Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”)

2002(g) and 2002(h), 9007 and 9010(b) and Section 1109(b) of the Bankruptcy Code, and demands

that all notices that are required to be given in this case, and all papers that are required to be served

in this case, be given to and served upon the undersigned pursuant to Bankruptcy Rule 2002(g) at

the office, addresses, and telephone number set forth below, and that the undersigned be added to

the mailing matrix on file with the Clerk of the Bankruptcy Court as follows:

               Dan D. Kohane
               Hurwitz & Fine, P.C.
               1300 Liberty Building
               Buffalo, NY 14202
               Telephone: (716) 849-8900
               Facsimile: (716) 855-0874
               Email: ddk@hurwitzfine.com.com


         PLEASE TAKE NOTICE that pursuant to Section 1109(b) of the Bankruptcy Code, the

foregoing demand includes not only the notices and papers referred to in the Rules specified above,
Case 20-30663-5-wak           Doc 401 Filed 03/12/21 Entered 03/12/21 08:03:47                    Desc
                                Main Document     Page 2 of 2

but also includes, without limitation, orders and notices of any application, motion, petition,

pleading, request, complaint or demand, whether formal or informal, whether written or oral,

whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex or otherwise,

which affect or seek to affect in any way New York Central Mutual’ rights or interests.

        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and Request

for Notice and Service of Papers (“Notice”) nor any later appearance, pleading, proof of claim,

claim, or suit shall constitute a waiver of (i) the right to have final orders in non-core matters entered

only after de novo review by a District Judge; (ii) the right to trial by jury in any proceeding related

to this case or any case, controversy, or proceeding related to this case; (iii) the right to have the

District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal; (iv) any objection to the jurisdiction of this Bankruptcy Court for any purpose other than

with respect to this Notice; (v) an election of remedy; or (vi) any other rights, claims, actions,

defenses, setoffs, or recoupments as appropriate, in law or in equity, under any agreements, all of

which rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved.



Dated: March 12, 2021                                HURWITZ & FINE, P.C.




                                                     By: ___________________________________
                                                     Dan D. Kohane, Esq.
                                                     1300 Liberty Building
                                                     Buffalo, NY 14202
                                                     Telephone: (716) 849-8900
                                                     Facsimile:   (716) 855-0874
                                                     Email:       ddk@hurwitzfine.com

                                                     Attorneys for New York Central Mutual
                                                     Insurance Company




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